   Case: 1:17-cv-03591 Document #: 528 Filed: 01/16/25 Page 1 of 2 PageID #:8269




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

    STANLEY BOIM, et al.

                       Plaintiffs,                          Civil No. 17-cv-03591

           v.

    AMERICAN MUSLIMS FOR PALESTINE, et                      Hon. Andrea Wood
    al.,
                                                            Hon. Heather McShain

                   Defendants.


                          LR 3.2 NOTIFICATION OF AFFILIATES

       Pursuant to Local Rule 3.2 of the Rules of the United States District Court for the Northern
District of Illinois, Defendant, Americans for Justice in Palestine Educational Foundation, Inc.
d/b/a American Muslims for Palestine (“AMP”), a non-profit corporation, hereby discloses the
following publicly held affiliates:


   •   Defendant AMP hereby states that it has no publicly held affiliates.



                                                                          Respectfully submitted,

                                                                             /s/ Christina Jump
                                                                             Christina A. Jump
                                                                       Texas Bar No. 00795828
                                                                               Samira Elhosary
                                                                  Maryland Bar No. 2112140261
                                                                             cjump@clcma.org
                                                                          selhosary@clcma.org
                                                                       Attorneys for Defendants

                                                                      Constitutional Law Center
                                                                         for Muslims in America
                                                       100 North Central Expressway, Suite 1010
Case: 1:17-cv-03591 Document #: 528 Filed: 01/16/25 Page 2 of 2 PageID #:8270




                                                               Richardson, TX 75080
                                                               Phone: (972) 914-2507
                                                                 Fax: (972) 692-7454

                               *The Constitutional Law Center for Muslims in America
                              is the legal division of the Muslim Legal Fund of America

                                                             Thomas Anthony Durkin
                                                                      ID No. 0697966
                                               2446 N. Clark Street Chicago, IL 60614
                                                                    Tel: 312-981-0123
                                                                   Fax: 312-913-9235
                                                          tdurkin@durkinroberts.com
                                                        Local Counsel for Defendants




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